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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


William Soler Justice

      v.                                      Case No. 23-cv-308-SE-AJ

Aaron Belanger
Eric Barbaro


                     REPORT AND RECOMMENDATION
     Pro se plaintiff William Soler Justice has filed a

complaint against two New Hampshire corrections officers. (Doc.

No. 1). The complaint is before the court for preliminary review

pursuant to LR 4.3(d)(2) and 28 U.S.C. § 1915(e)(2).

                    Preliminary Review Standard

     The court conducts a preliminary review of prisoner

complaints filed in forma pauperis. See LR 4.3(d)(1); see also

28 U.S.C. §§ 1915(e)(2), 1915A. The magistrate judge may

recommend to the district judge that one or more claims be

dismissed if, among other things, the court lacks jurisdiction,

a defendant is immune from the relief sought, or the complaint

fails to state a claim upon which relief may be granted.             See 28

U.S.C. § 1915(e)(2); LR 4.3(d).      In conducting its preliminary

review, the court construes pro se complaints liberally.             See

Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam).             The

complaint must contain “sufficient factual matter, accepted as

true, to ‘state a claim to relief.’”        Ashcroft v. Iqbal, 556
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U.S. 662, 678 (2009) (citation omitted).         The court treats as

true all well-pleaded factual allegations, and construes

reasonable inferences in plaintiff’s favor.          See Ocasio-

Hernández v. Fortuño-Burset, 640 F.3d 1, 12 (1st Cir. 2011).

                                Background

     At the time he filed the complaint, Mr. Justice was civilly

committed to the New Hampshire Department of Corrections’ Secure

Psychiatric Unit (“SPU”). 1     Mr. Justice alleges that, on April 9,


     1 This court described Mr. Justice’s confinement in a
previous lawsuit:
     Mr. Justice was charged in the New Hampshire Superior
     Court (“Superior Court”) with attempted murder,
     assault, and reckless conduct with a dangerous weapon
     (a car). On February 9, 2018, the Superior Court found
     that Mr. Justice, who has been diagnosed with
     schizophrenia, paranoid type, was not competent to
     stand trial on the charges against him, and that he
     was not restorable to competence. Thereafter, the New
     Hampshire Circuit Court, Sixth Circuit, Probate
     Division (“Probate Court”) determined that Mr. Justice
     was potentially dangerous to himself and others, and
     civilly committed him to the Secure Psychiatric Unit
     (“SPU”), for a period of five years, with allowance
     for a conditional discharge from that placement when
     and if such a discharge was clinically appropriate,
     pursuant to N.H. Rev. Stat. Ann. § (“RSA”) 135-C. See
     Feb. 9, 2018 Invol. Admis. Order, In re Soler, No.
     317-2018-IN-00027 (Probate Court) (Doc. No. 1-13, at
     1). The SPU is a New Hampshire Department of
     Corrections (“DOC”) facility located in the New
     Hampshire State Prison.

Justice v. Sununu, No. 20-CV-517-PB, 2022 WL 18275895, at *1
(D.N.H. Dec. 2, 2022), report and recommendation approved sub
nom. Justice v. Governor, NH, No. 20-CV-517-PB, 2023 WL 171364
(D.N.H. Jan. 12, 2023)

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2020, the defendants moved him to two successively more

restrictive settings within SPU – E Ward and F Ward – after he

asked Corrections Officer Belanger for the name of his sister.

He was in each ward for approximately one week.

     Mr. Justice further alleges that, after being released from

the restrictive setting, he was missing various personal items,

such as a journal, postage stamps, and a legal notebook.             He

submitted three request forms regarding the items. The responses

all indicated either that nothing was taken or that items would

be returned upon completion of his restrictive placement.

                               Discussion

A. Claims Asserted

     1. Placement in more restrictive setting

     Mr. Justice claims that his two-week placement in the more

restrictive settings of E and F Wings violated his right to due

process. To establish a violation of the Due Process Clause, Mr.

Justice must show that he was deprived of a protected interest

in life, liberty or property and that “‘the procedures attendant

upon that deprivation were constitutionally’” insufficient.

Gonzalez-Fuentes v. Molina, 607 F.3d 864, 886 (1st Cir. 2010)

(citation omitted).

     In general, absent facts demonstrating that a particular

prison classification or housing placement imposes an “‘atypical

and significant hardship on the inmate in relation to the

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ordinary incidents of prison life,’” inmates do not have a right

or protected interest in any particular prison classification or

housing placement. See Wilson v. N.H. State Prison Warden, No.

19-cv-127-PB, 2019 WL 2504616 at *2 (D.N.H. May 14, 2019)

(quoting Sandin v. Conner, 515 U.S. 472, 484 (1995), report and

recommendation adopted sub nom. Wilson v. N. Corr. Facility,

Warden, No. 19-cv-127-PB, 2019 WL 2503980 at *1 (D.N.H. June 17,

2019)).

     At the same time, however, individuals, such as Mr.

Justice, “who have been involuntarily committed are entitled to

more considerate treatment and conditions of confinement than

criminals whose conditions of confinement are designed to

punish.”   Youngberg v. Romeo, 457 U.S. 307, 321-22 (1982).

Nevertheless, a de minimis impingement of a civilly committed

person’s constitutional interests does not violate the

constitution.   See id. at 320; see also, Judah v. Ovsak, 550 F.

Supp. 3d 687, 702 (D. Minn. 2021) (“there is a de minimis level

of imposition with which the Constitution is not concerned.”)

(cleaned up).

     Here, Mr. Justice alleges that he was subjected to the more

restrictive conditions of E Wing and F Wing for a total of two

weeks. Without more, Mr. Justice’s allegations are insufficient

to assert more than a de minimis insult to his right to

nonpunitive civil confinement, and therefore fail to assert a

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claim under the Fourteenth Amendment. See Sandin, 515 U.S.at 486

(finding that thirty-day period of segregated confinement did

not amount to an atypical and significant hardship); Richardson

v. Runnels, 594 F.3d 666, 672 (9th Cir. 2010) (holding that two

weeks of administrative segregation was not a hardship).

Accordingly, the District Judge should dismiss this claim for

failure to state a claim upon which relief can be granted.

     2.   Missing property

     Mr. Justice next asserts that the defendants failed to

return personal property to him that went missing during his

time in E and F Wings. However, “an unauthorized intentional

deprivation of property by a state employee does not constitute

a violation of the Due Process Clause of the Fourteenth

Amendment if a meaningful post-deprivation remedy for the loss

is available.” Hudson v. Palmer, 468 U.S. 517, 533 (1984).

    The State of New Hampshire, through its Board of Claims,

provides a post-deprivation remedy which is adequate to redress

Mr. Justice’s loss of property.         See RSA 541–B:9 and 541–B:14.

Accordingly, Mr. Justice’s allegations do not support an

actionable cause of action under the Fourteenth Amendment, and

the District Judge should dismiss that claim without prejudice

to Mr. Justice’s ability to bring a claim under state law

concerning his missing property.



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                                 Conclusion

      Based on the foregoing, the district judge should dismiss

the complaint (Doc. No. 1) as it fails to set forth a claim for

relief.   Mr. Justice’s property-related complaint – Claim 2

above -- should be dismissed without prejudice.

      Any objections to this Report and Recommendation must be

filed within fourteen days of receipt of this notice. Fed. R.

Civ. P. 72(b)(2). The fourteen-day period may be extended upon

motion. Failure to file any objection within the specified time

waives the right to appeal the district court's Order. See

Santos-Santos v. Torres-Centeno, 842 F.3d 163, 168 (1st Cir.

2016). Only those issues raised in the objection(s) to this

Report and Recommendation “are subject to review in the district

court.” Id.    (cleaned up). Additionally, any issues “not

preserved by such objection are precluded on appeal.” Id.



                                   __________________________
                                   Andrea K. Johnstone
                                   United States Magistrate Judge

September 27, 2024

cc:   William Soler Justice, pro se




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